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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA


V.                                                                CRIMINAL NO. 3:21-CR-107


JAMARR SMITH, THOMAS IROKO AYODELE aka “ROKO,”
and GILBERT MCTHUNEL


               GOVERNMENT=S RESPONSE TO DEFENDANTS’
     MOTION FOR NEW TRIAL AND MOTION FOR JUDGMENT OF ACQUITTAL
                 (DOCUMENT NOS. 140, 141, 142, 143, AND 145)

        Comes now the United States of America, by and through the United States Attorney for

the Northern District of Mississippi, and in response to defendants’ Motion for New Trial and

Motion for Judgment of Acquittal would respectfully show unto the Court the following, to wit:

        The defendants were charged in a two-count Indictment in October 2021. Count Two

charged the defendants with robbing Sylvester Cobbs, a person having lawful charge, control, and

custody of any mail matter, money, and other property of the United States, of such mail matter,

money, and property, and in doing so, putting Sylvester Cobb’s life in jeopardy by the use of a

dangerous weapon. Count One charged the defendants with conspiring to do the same. On

February 24, 2023, following a four-day trial, a jury found each of the defendants guilty of both

counts of the Indictment. The defendants have now moved for a new trial and for a judgment of

acquittal.

        A. Motion for New Trial

        Rule 33 of the Federal Rules of Criminal Procedure allows a District Court to grant a new


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trial if the interest of justice so requires. Fed. R. Crim. P. 33(a). However, granting a new trial

“should be exercised infrequently by District Courts, unless warranted by ‘exceptional’

circumstances.” United States v. Tarango, 396 F.3d. 666, 672 (5th Cir. 2005). Motions for new

trial are disfavored and must be reviewed with great caution. United States v. Piazza, 647 F.3d

559, 565 (5th Cir. 2011).       A new trial should be granted only when the defendant has

demonstrated an adverse affect on his substantial rights. Piazza, 647 F.3d at 565. While a Court,

upon considering a motion for a new trial (as opposed to a motion for judgment of acquittal), may

assess the credibility of the witnesses, the Court should not entirely usurp the jury’s function or set

aside the verdict simply because the Court believes a different result would have been more

appropriate. Tarango, 396 F.3d at 672. The evidence supported the jury’s verdict on all counts

of conviction, and the defendants’ motion for a new trial should be denied.

       In support of their motion for a new trial, the defendants allege that the verdict is not

supported by the evidence and that the verdict is contrary to law and the principles of justice.

Since both counts charge similar conduct and the evidence as to both counts is the same, the

government will address both at once. There was a significant amount of evidence from which

the jury could determine that each of the defendants were guilty of both charges in the indictment,

including both circumstantial and direct evidence. As this court is aware, and as this court

properly instructed the jury, the law makes no distinction between the weight to be given either

direct or circumstantial evidence. See United States v. Clark, 506 F.2d 416, 418 (5th Cir. 1975).

Furthermore, “[t]he evidence need not exclude every reasonable hypothesis of innocence or be

wholly inconsistent with every conclusion except that of guilt, and the jury is free to choose among




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reasonable constructions of the evidence.” United States v. Mitchell, 484 F.3d 762, 768 (5th Cir.

2007).

         In this case, video from a security camera across the street helped the Postal Inspectors to

develop suspects. From the video it was clear that Inspectors were looking for an assailant, a

driver of a white GMC or Chevrolet SUV who dropped off and picked up the assailant, and a red

Hyundai sedan who followed the victim to the scene and acted as a lookout. Also, from the nature

of the crime, Inspectors believed that the suspects had ties to the U.S. Postal Service.

         A Google geo-fence warrant placed two of the defendants, Smith and McThunel, at the

scene of the crime, during the time of the crime. A further Google warrant for Google location

information before and after the crime showed Smith and McThunel to have left Batesville mid-

afternoon,    travelling   to   Lake    Cormorant,     where    they    remained    in     the   Lake

Cormorant/Robinsonville area for an hour-and-a-half to two hours, including the time of the crime,

subsequently returning to Batesville. It should be noted that there is literally nothing in Lake

Cormorant, such as a store or a restaurant, that might attract individuals from Batesville or hold

them there for any period of time.

         The government obtained phone data on all three defendants which showed the three

defendants making an abnormal number of phone calls to and from each other during the time

frame immediately before, during, and after the robbery, particularly between Smith and Ayodele

and Smith and McThunel. Cell tower location data obtained from Smith’s and McThunel’s

phones confirmed the Google location data showing Smith and McThunel travelling from

Batesville to Lake Cormorant, being in Lake Cormorant at the time of the robbery, and returning




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to Batesville. Cell tower location data for Ayodele’s phone showed the same thing in relation to

Ayodele’s travels that afternoon.

       In addition to the phone calls between the defendants, social media and other records

developed during the investigation showed the defendants to be friends with each other.

Additionally, Inspectors determined that Ayodele had a white GMC SUV that appeared to be

identical to the one seen in the video of the robbery, and McThunel had a red Hyundai Sonata

similar to the red Hyundai seen in the video. McThunel traded in his red Hyundai three days after

the robbery. Inspectors noted that criminals often try to divest themselves of the tools of the crime

in an effort to avoid detection or connection to the crime.

       Another key piece of evidence was eyewitness testimony placing Smith at the scene of the

crime at the time of the crime, driving the red Hyundai. Additionally, there was testimony that

Smith was in a relationship with Chevella Hines, the postmaster at Robinsonville. As postmaster,

Hines would have knowledge of the postal procedures regarding the handling of postal money, the

manner in which postal money would be transported to Memphis each day, the amount of money

that would be transported to Memphis each day, and the route that Sylvester Cobbs would take to

pick up and transport the money to Memphis. Smith and Hines exchanged an abnormal amount

of telephone calls on the afternoon and evening of the robbery. There was evidence for the jury

to believe that Hines was the inside source who helped Smith and the other defendants plan the

robbery.

       The defendants, in arguing to the jury, asserted that while Google location information and

cell tower location information might place the defendants’ phones at the scene of the robbery,

there was no evidence that the defendants were actually in the presence of their phones. To the


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contrary, there was an eyewitness that placed Smith at the scene of the crime. Vehicles matching

the descriptions of vehicles owned and driven by Ayodele and McThunel were seen on video at

the scene of the crime, and, from the manner in which they were operated, appeared to be involved

in the crime. Additionally, Patra Malone, who exchanged a series of text messages with Ayodele

at the time of the robbery, testified that anytime she communicated with the number she knew to

be Ayodele’s, it was always Ayodele on the other end of the line. Facebook records, Google

records, records from Kirk Toyota, and phone subscriber records proved that each of the relevant

phone numbers belonged to and was used by one of the defendants. Most importantly, the

defendants’ argument that their phones were not in their presence but instead, were an hour away

from home, defies all logic.

       As the court is aware, and as the court properly instructed the jury, the jury was permitted

to draw such reasonable inferences from the testimony and exhibits as it felt were justified in the

light of common experience.       In other words, the jury could make deductions and reach

conclusions that reason and common sense led it to draw from the facts which had been established

by the evidence. See United States v. Thomas, 627 F.3d 146, 155 (5th Cir. 2010). “Inferences

and presumptions are a staple of our adversary system of factfinding. It is often necessary for the

trier of fact to determine the existence of an element of the crime—that is, an ‘ultimate’ or

‘elemental’ fact—from the existence of one or more ‘evidentiary’ or ‘basic’ facts….Circumstances

altogether inconclusive, if separately considered, may, by their number and joint operation,

especially when corroborated by moral coincidences, be sufficient to constitute conclusive proof.”

Thomas, 627 F.3d at 154.




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       The jury knows that each and every one of us has a cell phone that we keep with us at all

times. While we might, on occasion, leave our cell phone at home or at the office, our cell phones

do not walk out the door, get in the car, and travel all over North Mississippi without us. To argue

that the defendants were not in the presence of their cell phones simply defies all common sense.

In this case, to believe the defendants, the jury would have to believe that not one, not two, but

three defendants’ cell phones all wandered off together on the same date, in the hands of another

set of three friends, one of whom had a connection to Chevella Hines, and that they each called

each other as they carried out this robbery, while driving two of the defendants’ vehicles. This

assertion is beyond belief, especially when an eyewitness placed one of the defendants at the scene.

       There was sufficient evidence for the jury to find that each of the defendants conspired to

commit this crime, and participated in this crime, either as the assailant or aiding and abetting the

commission of the crime. Accordingly, the defendants’ motion for a new trial on the grounds of

insufficient evidence should be denied.

       In their Motion for New Trial, the defendants have each asserted that the verdict is contrary

to law and the principles of justice. The government believes the defendants are expressing their

contention that the verdict was against the weight of the evidence and therefore unjust. For the

reasons set forth herein, there was sufficient evidence to support the jury’s verdict of guilty and

accordingly, the defendants’ motion for a new trial on the grounds that the verdict is contrary to

law and the principles of justice should be denied.

       B. Motion for Judgment of Acquittal

       The defendants have moved for a judgment of acquittal, arguing that the court erred in

denying their Motion for Judgment of Acquittal at the close of the government’s case-in-chief.


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As this court is aware, in considering a motion for a Judgment of Acquittal under Rule 29, the

court must take the evidence in the light most favorable to the government. United States v.

Duncan, 164 F.3d 239, 242-243 (5th Cir. 1999). Again, as with the Motion for New Trial, the

defendants contend that the jury verdict was against the overwhelming weight of the evidence.

For the reasons set forth herein, as well as the reasons set forth by the government when a similar

motion was made at the conclusion of the government’s case-in-chief, there was sufficient

evidence to support the jury’s verdict of guilty and accordingly, the defendants’ Motion for

Judgment of Acquittal should be denied.

       C. Expert Testimony of Christopher Moody

       In addition to the aforementioned arguments, defendant Jamarr Smith argues in his motion

that the Court erred when it admitted the expert testimony of Christopher Moody in the area of cell

site and Google data and location analysis.

       On March 10, 2022, the Government designated Christopher Moody as an expert and

provided notice to Jamarr Smith and the other defendants that Moody would be used to show “the

location of defendants and their cellular phones before, during and after the time of the subject

robbery.” See Exhibit A. His curriculum vitae was also provided at that time. See Exhibit B. On

February 3, 2023, the Government provided a supplemental expert disclosure in compliance with

the recently revised Rule 16 of the Federal Rules of Criminal Procedure which stated in detail Mr.

Moody’s anticipated testimony. See attached Exhibit C. The defendants failed to file a pretrial

Daubert motion to exclude Mr. Moody.

       In support of their Motion to Suppress, on November 3, 2022, the defendants designated

Spencer McInvaille as an expert witness in forensics and geolocation analysis. The bulk of Mr.


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McInvaille’s report concerned Google geolocation data. At the suppression hearing on January 31,

2023, the defendants offered Mr. McInvaille as an expert in the above field and he was accepted

by the Court. Mr. McInvaille proceeded to testify about Google geolocation data.

       At trial, the Government offered Christopher Moody as an expert in the area of cell site

and Google data and location analysis. Following voir dire of the expert witness, the defendants

objected to Mr. Moody being qualified on similar grounds as those set forth in Smith’s motion.

The Court overruled the objection and allowed Mr. Moody to be admitted and testify as an expert

in the above field.

       Smith now avers in his Motion for Judgment of Acquittal or in the Alternative For New

Trial that Mr. Moody 1) had received no training relevant to his opinions on the Google location

data, 2) was unaware of any studies or analysis in the scientific community concerning the

reliability of the data; 3) was not aware of any peer reviewed publications discussing technology;

and 4) could not testify that this technology had received widespread acceptance.

       I.      Legal Standard

       Federal Rule of Evidence 702 governs the admissibility of expert witness testimony. “A

witness who is qualified as an expert by knowledge, skill, experience, training, or education may

testify in the form of an opinion or otherwise if:

   (a) the expert’s scientific, technical, or other specialized knowledge will help the trier
       of fact to understand the evidence or to determine a fact in issue;

   (b) the testimony is based on sufficient facts or data;

   (c) the testimony is the product of reliable principles and methods; and

   (d) the expert has reliably applied the principles and methods to the facts of the case.”

FED. R. EVID. 702. The “touchstone of the rule is whether the testimony will assist the jury.”

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United States v. Offill, 666 F.3d 168, 175 (4th Cir. 2011).

       For an expert to be “qualified” under Rule 702, “it is not necessary that the witness be

recognized as a leading authority in the field in question or even a member of a recognized

professional community.” United States v. Sutton, No. CR 21-0598 (PLF), 2022 WL 16960338, at

*3 (D.D.C. Nov. 16, 2022) (quoting 29 CHARLES ALAN WRIGHT & ARTHUR R. MILLER,

FEDERAL PRACTICE & PROCEDURE § 6264.1 (2d ed. 2022)). There is “no requirement that

an expert possess formal education, and an expert may be qualified on the basis of his or her practical

experience.” Khairkhwa v. Obama, 793 F. Supp. 2d 1, 11 (D.D.C. 2011). The “degree of

‘knowledge, skill, experience, training, or education’ required to qualify an expert witness ‘is only

that necessary to insure that the witness’s testimony “assist” the trier of fact.’” Id. (quoting Mannino

v. Int’l Mfg. Co., 650 F.2d 846, 851 (6th Cir. 1981)).

        As described above, Mr. Moody has extensive training and experience in the relevant field

due to his trainings and certifications over a period of years. Mr. Moody testified that he had been

working with geolocation technology for many years and had received multiple certifications. He

also testified that he completes recertifications regularly. Mr. Moody has also been accepted as an

expert in two other cases in the United States District Court for the Western District of Tennessee.

        Accordingly, there is no question as to his qualifications nor does the defendant question any

specific notation in Mr. Moody’s reports. There is no suggestion that he plotted any location

information incorrectly or interpreted any data differently from how the defendant would think it

should have been interpreted.

        The Supreme Court provided trial courts with guidance on the admission of expert evidence

at trial in Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), which established a two-


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prong test for the admissibility of scientific evidence. The first prong rejected the previously

widely-used “general acceptance” test enunciated in Frye v. United States, 293 F. 1013 (D.C. Cir.

1923), decided a half-century before the Federal Rules of Evidence were adopted, in favor of a more

flexible standard that reviews the scientific validity and reliability of the evidence. The second

prong, sometimes referred to as the “relevancy” requirement, simply reiterated that scientific

testimony or evidence must assist the trier of fact to be admissible.

          The trial court’s task is to ensure the proposed expert testimony “both rests on a reliable

foundation and is relevant to the task at hand.” Daubert, 509 U.S. at 597. The Supreme Court in

Daubert listed four non-exclusive factors that are helpful to determine the reliability of

scientific or technical testimony: (1) whether the scientific theory or technique can be (and has

been) tested; (2) whether the theory or technique has been subjected to peer review and

publication; (3) whether a particular technique has a known potential rate of error; and (4)

whether the theory or technique is generally accepted in the relevant scientific community.

Daubert, 509 U.S. at 593-95. The Court noted that these factors do not constitute a “definitive

checklist or test,” and that “[m]any factors will bear on the inquiry” that involves “a preliminary

assessment of whether the reasoning or methodology underlying the testimony is scientifically

valid and of whether that reasoning or methodology properly can be applied to the facts in

issue.”      Id. at 592-93. It is well established that experts may base their opinions on

experience—and that expert testimony can cover areas of technical and other knowledge rather

than just science. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 148-49 (1999).

          II.    Historical Cell Location Data Is Scientifically Valid, Probative, Reliable, and
                 Admissible in this Case

          Contrary to the defendant’s premise for the entire Motion, the evidence that the Government

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offered in this case—historical Google location and cell site analysis—is scientifically valid,

probative, and reliable for the purposes for which it was offered in this case. The United States

respectfully submits that this Court correctly exercised its broad discretion in allowing expert

testimony concerning historical cell site and Google location information because the technology

and scientific principles used by cellphones to communicate with one another and that Google uses

to locate its users are valid, reliable, and probative. In addition, the evidence was relevant and

assisted the trier of fact in deciding the facts at issue in this case. Indeed, the defendant does not

cite, and the government is not aware of, a case in which the type of testimony being offered in this

case has been rejected.

       III.    Numerous Courts Have Affirmed the Reliability of Historic Location Analysis
               for Establishing the General Location of a Cell Phone

       To be sure, testimony about cell phone technology and the ability to determine the general

area where calls are placed and received has been admitted in courts throughout the country as a

matter of course for more than a decade. United States v. Jones, 918 F. Supp. 2d 1, 5 (D.C. Cir. 2013)

(collecting cases in the context of historical cell site analysis); see generally Carpenter v. United

States, 138 S. Ct. 2206, 2216 (2017) (“cell phone location information is detailed, encyclopedic, and

effortlessly compiled”).

       As noted above, Mr. Moody has testified as an expert regarding historical cell site analysis

on two other occasions. The science behind how cell phones work is accepted in the scientific and

legal community. The defendant did not cite any cases in which a court ruled this type of evidence

untrustworthy or anything approaching “junk science,” or in which a court has excluded a qualified

expert from providing testimony on this topic for the purpose of establishing the relevant general

location of a cellular phone. Rather, courts routinely admit expert testimony of the kind Mr. Moody

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provided. As shown in the cases discussed below, experts across the United States have testified in

other trials for the purpose of showing the general location of cell phone use through historical cell-

site records and the coverage area of cell towers and have recently allowed testimony of Google

geolocation evidence. The defendant’s claim that Mr. Moody’s testimony is unreliable, and he is

not qualified, is based on neither fact nor law.

    a. Cell Site Location Information

        In United States v. Schaffer, 439 F. App’x 344 (5th Cir. 2011), the court found no abuse of

discretion in the district court’s conclusion that an FBI agent’s cell site analysis met standards

under Daubert, specifically noting that this type of testimony is “neither untested nor

unestablished.” Id. at 347. In United States v. Weathers, 169 F.3d 336 (6th Cir. 1999), the

appellate court did not even question the appearance of an expert witness on this topic. Id. at 339

(discussing expert testimony on cell sites). In United States v. Feliciano, 300 F. App’x 795 (11th

Cir. 2008) (unpublished), the court allowed a police officer to testify as a lay witness where “he

simply reviewed the cellular telephone records and a summary of those calls, which identified

cellular towers for each call, and based on his personal knowledge concerning the locations of

certain cellular towers,” the witness gave a conclusion, in that case suggesting that the cell phone

was not near a particular location. Id. at 801. The testimony here was relevant and reliable and

founded in established methodology.

        Mr. Moody has received FBI Cellular Analysis Survey Team (CAST) training, and persons

similarly trained have testified as experts in numerous trials around the country for the purpose of

showing the general location of someone using their phone through historical cell site records and

the coverage area of the cell towers handling those calls. See, e.g., United States v. Pembrook, 876


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F.3d 812, 824-26 (6th Cir. 2017), vacated on other grounds by Sessions v. Dimaya, 138 S. Ct.

1204 (2018) (holding expert testimony related to using cell site data to locate defendants was

sufficiently reliable and admissible at trial); United States v. Lewisbey, 843 F.3d 653, 659 (7th Cir.

2016) (“Using call records and cell towers to determine general location of a phone at specific

times is a well-accepted, reliable methodology.”); United States v. Johnson, 2015 WL 5012949, at

*6 (N.D. Cal. Aug. 24, 2015) (“Historical cell site evidence has consistently been found admissible

by federal courts.”); United States v. Jones, 918 F. Supp. 2d 1, 5 (D.D.C. 2013) (“The use of cell

phone records to locate a phone has been widely accepted in both federal and state courts across

the country.”); United States v. Davis, 2013 WL 2156659, at *4 (S.D. Fla. May 17, 2013) (noting

FBI agent’s testimony that “as a result of the success . . . FBI agents experienced using call-detail

records in investigations, the FBI formulated a nationwide Cellular Analysis Survey Team . . .

whose sole job it is to analyze cellular telephone records for use in investigation”); United States

v. Machado-Erazo, 950 F. Supp. 2d 49, 57 (D.D.C. 2013) (finding FBI CAST agent’s testimony

admissible under Daubert as it was based on scientific knowledge that was relevant to the issues

at trial). The case law makes clear the wide acceptance of testimony such as the government offered

here.

   b. Google Location Data

          Mr. Moody testified as to his extensive experience, training and certifications as well as to

exactly what processes he implemented to take the Google GPS coordinates and put them in a

software program. He also discussed the margin of error/radii of the Google location data. Google

geolocation data is used by Google to locate their users. All of this was explained by Mr. Moody.

          In State v. Pierce, the Superior Court of Delaware determined that expert opinion based on


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Google location data was reliable and would assist the factfinder. See State v. Pierce, 222 A.3d 582,

590 (Del. Super. Ct. 2019) (“Accurate geolocation of a mobile device is an important part of

Google’s business plan for the Android operating system.” “Merchants use this location provided by

Google to promote products, often targeting advertisements to specific geographical locations.”).

Other courts have also allowed evidence/testimony of Google location data. See United States v.

Crawford, 2021 WL 2367592 (W.D.N.Y. Jan. 14, 2021) (report and recommendation adopted, 2021

WL 1730875, at *3 (W.D.N.Y. May 3, 2021) (“Although the exact methodologies or principles used

by Google to obtain this geolocation data are not yet disclosed, this Court is not inclined to find the

scientific or technical validity of geolocation gained from Wi-Fi or satellite data to be so lacking in

reliability that it should fail to pass the gatekeeping function of the Court under Daubert.”); Pierce,

222 A. 3d at 588, n. 27 (collecting cases).

       The defendants’ efforts to discredit Mr. Moody’s methodology by pointing to the limits of

the research he undertook generally go to the weight rather than the admissibility of his testimony.

United States v. Morgan, 45 F.4th 192, 201 (D.C. Cir. 2022). It is the province of the jury to decide

what weight, if any, to give such testimony especially when the defendant’s objection is the weight

of an expert’s testimony. See United States v. Fama, 12-CR-186, 2012 WL 2674669, at *10

(E.D.N.Y. Dec. 7, 2012); see also Daubert, 509 U.S. at 596 (“Vigorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are the traditional

and appropriate means of attacking shaky but admissible evidence.”); United States v. Gladden, 11-

CR-119, 2013 WL 1916125, at *8 (W.D.N.Y. Oct. 5, 2012) (denying motion for a Daubert hearing

because the challenges made to expert conclusions went to the weight of the evidence, not to its

admissibility).


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       Notably, the defendant’s argument is contrary to opinions of the defenses’ own expert used

in the suppression hearing. That expert, Mr. McInvaille, was tendered as an expert in digital forensics

and geolocation analysis with no objection from the Government.

       In fact, the defendants’ own Google geolocation expert admitted the Google data proved that

two devices were on scene around the Post Office on the date and time in question:

       Mr. Mims: For those accounts. Okay. So you don’t disagree that Smith and

       McThunel were present at the Lake Cormorant post office at 5:30 p.m. that evening,

       do you?

       Mr. Mcinvaille: I can’t say them physically, but an account that you have associated

       with them, yes.

       Mr. Mims: Okay. Their devices were present, weren’t they?

       Mr. Mcinvaille: The devices with those accounts, yes.

See Exhibit D, P. 46.

   In sum, the Court was correct in accepting Mr. Moody as an expert in the area of cell site and

Google data and location analysis. Mr. Moody was well qualified in the field of cell site and

Google location data. Furthermore, this data is reliable and well accepted within the appropriate

fields of science and technology.




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                                       CONCLUSION

       For the foregoing reasons, the government respectfully requests that the defendants’

Motions for New Trial and Motions for Judgment of Acquittal be denied.

       Respectfully submitted, this the 8th day of March, 2023.


                                            CLAY JOYNER
                                            United States Attorney


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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2023, I electronically filed the foregoing with the Clerk

of the Court using the ECF system which sent notification of such filing to the following:

               Goodloe Lewis, Esq.
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                                                         s/ Robert J. Mims
                                                    ROBERT J. MIMS
                                                    Assistant United States Attorney

                                                         s/ Clyde McGee IV
                                                    CLYDE MCGEE IV
                                                    Assistant United States Attorney




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